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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE
  ____________________________________
                                       :
  KIRUSA, INC.                         :
                                       :
                    Plaintiff,         :
        v.                             :
                                       : Civil Action No.:
                                       : JURY TRIAL DEMANDED
  INSTAGRAM, LLC.,                     :
                                       :
                    Defendant.         :
  ____________________________________:

                                           COMPLAINT

         Plaintiff Kirusa, Inc. (“Plaintiff” or “Kirusa”), by its attorneys, for its complaint against

Defendant Instagram, LLC (“Defendant” or “Instagram”) alleges as follows:


                                 I. NATURE OF THE ACTION

       1. This is an action by Kirusa for a declaratory judgment of non-infringement and non-

dilution of Defendant’s INSTAGRAM trademark rights. Kirusa seeks a declaration that its use of

its INSTAVOICE mark does not infringe or dilute Defendant’s rights in its INSTAGRAM

trademarks.

       2. On January 1, 2013, the United States Patent and Trademark Office (“USPTO”) issued

a trademark registration to Kirusa for the INSTAVOICE trademark after a determination that

INSTAVOICE was not confusingly similar to other registered trademarks, including those of the

Defendant, and after a 30-day opposition period during which nobody, including Defendant,

objected to the registration of INSTAVOICE. The USPTO issued a trademark registration for

INSTAVOICE on January 1, 2013. The certificate of registration bearing number 4269874 is

attached hereto as Exhibit A.
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       3. The INSTAGRAM and INSTAVOICE trademarks identify distinct digital services

and offer distinct commercial impressions to their users. Compare Exhibit B (Instagram App and

Website) and Exhibit C (INSTAVOICE App and Website), attached hereto.

       4. Yet, on April 22, 2015, more than two years after registration of Kirusa’s

INSTAVOICE trademark, and as part of a larger campaign to cleanse the USPTO principal

register of trademarks utilizing the INSTA and GRAM prefixes and suffixes, Defendant e-mailed

Kirusa’s counsel a cease and desist letter. See Exhibit D.

       5. Despite the non-distinctive nature of INSTA and GRAM — the mark is a composite of

the prefix “insta” derived from “instamatic” cameras and the suffix “gram” from the word

“telegram” — Defendant has, before the Trademark Trial and Appeal Board, opposed over 200

existing trademarks or trademark applications with little apparent consideration for the merits of

any individual opposition. Defendant has engaged in this objectively baseless litigation in an

unlawful effort to prevent the registration and/or use of marks that businesses adopted in good

faith, in certain cases, as here, after considering public statements by Defendant that others’ use of

the INSTA and GRAM formatives would not be considered to be infringing by Defendant. Many

of the third-party marks that have been the subjects of Defendant’s objection are actually used or

proposed for use in connection with goods and services that are wholly distinct from the goods

and services Defendant offers in connection with its marks.


                                          II.   THE PARTIES

       6. Kirusa is a Delaware corporation having a place of business at 139 South Street, Suite

205, New Providence, New Jersey 07922.

       7. Instagram is a Delaware limited liability company having its principal place of

business at 1601 Willow Road, Menlo Park, California 94025.

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                                  III. JURISDICTION AND VENUE

        8. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and under the

Lanham Act, 15 U.S.C. § 1125(a) and (c).

        9. This Court also has jurisdiction for Declaratory Judgment of non-infringement and

non-dilution of trademark rights under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2201.

        10. Instagram is subject to personal jurisdiction in this Court because it is domiciled in

Delaware, having Delaware as its place of incorporation.

        11. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Instagram is incorporated in this judicial district.


                                   IV. FACTUAL BACKGROUND

 A. Kirusa, Inc.

        12. Kirusa was incorporated in Delaware in August 2000.

        13. In 2001, Kirusa began operations after receiving venture capital funding for the

development of mobile communications products based upon its proprietary mobile technologies

invented by its founders and several co-inventors.

        14. Subsequently, Kirusa established international subsidiaries in India, Nigeria, Ghana,

Tanzania, Rwanda, Ivory Coast, and Democratic Republic of the Congo.

        15. Kirusa’s voice short message service (“Voice SMS”) technology was first

incorporated into a mobile device product in 2005.

        16. Currently, Kirusa's Voice SMS and other mobile technologies are incorporated into a

family of mobile apps, known by the trademarks INSTAVOICE, INSTAVOICE ReachMe, and

INSTAVOICE Ring (“INSTAVOICE Apps”), and their related services.

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       17. The INSTAVOICE Apps focus on three aspects of mobile telephone messaging:

voicemail, missed calls, and calls.

       18. Kirusa’s target market audience is typically business users, older individuals who rely

upon telephone voice communication and voicemail as a predominant form of digital

communication, and U.S residents who wish to stay in telephone contact with relatives and

friends in foreign countries, particularly, those located in Africa, where the user base of the

INSTAVOICE App and related services is very large.

       19. In the United States, the INSTAVOICE App is a free mobile device download. In

2017, Kirusa began offering a premium level service that is available for purchase within the app.

In several other countries, Kirusa has licensing agreements with mobile operators who pay Kirusa

for offering INSTAVOICE services to their subscribers.

       20. Kirusa does not advertise in the INSTAVOICE Apps.

       21. Kirusa has acquired considerable goodwill for its INSTAVOICE trademarks by

investing millions of dollars worldwide in marketing, sales, and promotional activities.

B. The INSTAVOICE Trademark

       22. In 2011, Kirusa adopted the INSTAVOICE trademark after a search of the United

States Patent and Trademark Office (“USPTO”) database and other online sources.

       23. It selected INSTAVOICE for two reasons: (1) Kirusa liked the association of the term

“insta” with notion of “instant” or “fast” because it captured the essence of Kirusa’s voice SMS

technology; and (2) the Internet domain “instavoice.com” was available for purchase.

       24. Kirusa was aware of Instagram’s use of the “insta” formative but, like Instagram itself,

recognized that it was a generic term made famous by Kodak’s “instamatic” camera brand, which

was a clever portmanteau of “instant” and “automatic.”



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       25. Although Kirusa had no immediate intention of using Instagram’s application

programming interface (“API”), Kirusa was aware of and considered public statements made by

the Defendant aimed at software developers with respect to use of trademarks bearing the INSTA

formative.

       26. The relevant portion of the terms of use presented on Instagram’s website in April

2012 are reproduced from a screen capture taken from www.web.archive.org below and attached

hereto as Exhibit E:

             INSTAGRAM API TRADEMARK AND BRAND GUIDELINES

             • You are not allowed to use the word “Instagram”, “IG” or any variation in your
             product name, domain name, or images.
             • You are not allowed to use the Instagram icon or logo unless specifically allowed
             in the development documentation.
             • If you do incorporate Instagram’s logos, you must include the following statement
             clearly on your website: “This [application website] uses the Instagram™ API and is
             not endorsed or certified by Instagram or Burbn, Inc. All Instagram™ logos and
             trademarks displayed in this [application website] are property of Burbn, Inc.”
             • While you cannot use the word “Instagram” or “IG” in your product’s name, it’s
             ok to use one (but not both) of the following: “Insta” or “gram.”
             • Note that we reserve the right to reject any use of these terms in connection with
             the use of the Instagram API. (Emphasis supplied).

       27. Instagram’s policy of allowing, or even encouraging, the development of businesses

based on the Instagram technical platform that incorporate the formative “insta” or “gram” in their

name reflected Instagram’s understanding and tacit admission of the weakness of these “insta”

and “gram” elements outside of Defendant’s composite INSTAGRAM marks. In a 2012 “FAQ”

section on the Instagram website, Instagram explained the origins of its trademark:

                When we were kids we loved to play around with cameras. We
                loved how different types of old cameras marketed themselves as
                “instant” - something we take for granted today. We also felt that
                the snapshots people were taking were kind of like telegrams in
                that they got sent over the wire to others - so we figured why not
                combine the two?

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 A copy of Instagram’s FAQ is attached hereto as Exhibit F. By its own admission, Instagram

 has acknowledged that the component parts of its mark are descriptive and, hence, weak on their

 own. Accordingly, those component parts are in the public domain and are not protectable.

        28. On May 2, 2012, Kirusa filed an application with the USPTO to register the

INSTAVOICE mark under International Class 038 for:

                 Communication services, namely, transmission of voice, audio,
                 visual images and data by telecommunications networks, wireless
                 communication networks, the Internet, information services
                 networks and data networks; Telecommunication services, namely,
                 transmission of voice, data, graphics, images, audio and video by
                 means of telecommunications networks, wireless communication
                 networks, and the Internet.

        29. INSTAVOICE services are related to telephone communications and do not identify a

photo or video sharing social networking platform as does INSTAGRAM, although, like most

messaging services, the INSTAVOICE service permits sending of photos and videos by users

directly to other users.

        30. Instagram, like Facebook, Twitter, Snapchat, and other similar platforms, is a social

media service.

        31. Social media services are complex networks that permit users to interact on many

levels by, for example, creating, sharing, posting, following, liking, and commenting about digital

content.

        32. Kirusa’s INSTAVOICE telephony service is not a social media service.

        33. Kirusa’s INSTAVOICE service is not competitive with that of INSTAGRAM.

        34. Kirusa’s customers purchase the INSTAVOICE app for enhanced voicemail and

calling services, not for social media services.

        35. Instagram does not offer voicemail, voice message, missed call, or calling services.



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       36. On August 1, 2012, after the USPTO determined INSTAVOICE was not confusingly

similar to other registered trademarks, including Defendant’s INSTAGRAM registered marks, the

USPTO noticed INSTAVOICE for publication.

       37. On August 21, 2012, the USPTO published the INSTAVOICE mark in its Official

Gazette. During the 30-day opposition period, no party opposed Kirusa’s trademark application.

       38. On January 1, 2013, the USPTO issued Kirusa a certificate of registration for the

INSTAVOICE mark, Exhibit A.

       39. Defendant had actual or constructive knowledge of Kirusa’s adoption and use of the

INSTAVOICE trademark and URL (which incorporated and/or referenced Kirusa’s

INSTAVOICE mark) in 2012. Despite its knowledge, Defendant did not object to Kirusa’s use of

the trademark.

       40. Over approximately the past six years, Kirusa has used and promoted its mark

INSTAVOICE and the goods and services offered under the INSTAVOICE mark extensively in

commerce.

       41. To Kirusa’s knowledge, its use of the INSTAVOICE marks has never caused an

instance of consumer confusion as to the source, affiliation, or sponsorship of any of its products

or services.

       42. On April 22, 2015, Kirusa’s counsel received an e-mail cease and desist letter from

Instagram’s counsel demanding that Kirusa limit the goods of its U.S. trademark registration and

certain other foreign trademark registration, not to share data with Instagram and not to file any

INSTA-formative marks involving “transmission of images, photos, or video.” See e-mail,

Exhibit D.




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       43. Thereafter, months of on-again off-again discussions between Kirusa and Instagram

followed; then, without explanation, on April 27, 2017, Instagram ceased all contacts with Kirusa

until Sept 13, 2017 when Instagram filed a Cancellation Action with the Trademark Trial and

Appeal Board (“TTAB”) against Kirusa alleging that the INSTAGRAM marks have priority over

those of Kirusa, that they create similar commercial impressions, and that goods claimed by

Kirusa are identical to those of INSTAGRAM thereby creating confusion in the market place and

deceiving the public (Proceeding No. 92066870). A copy of the Cancellation Petition is attached

as Exhibit G.

       44. On or about August 2017, Facebook, Inc. (“Facebook”), Defendant’s parent

corporation, and/or Defendant, in retaliation for use of the INSTAVOICE trademark, blocked

INSTAVOICE Apps from linking with Facebook.

       45. On or about November 30, 2017, in retaliation for use of the INSTAVOICE

trademark, Defendant and Facebook closed Kirusa’s accounts for INSTAVOICE Apps on the

Instagram platform and removed Kirusa’s pages for INSTAVOICE Apps from the Facebook

platform, along with the list and identities of all of INSTAVOICE Apps’ hundreds of thousands

of followers.

       46. On or about March 2018, in retaliation for use of the INSTAVOICE trademark,

Defendant and/or Facebook began disabling Facebook accounts of Kirusa employees used to link

Kirusa’s services to Facebook with Kirusa apps other than INSTAVOICE. Defendant and/or

Facebook disabled accounts using kirusa.com e-mail addresses, as well as accounts using other

e-mail addresses when the accounts were associated with Kirusa’s services.

       47. Subsequent to the filing of the Cancellation Action, the parties engaged in further

settlement discussions but could not reach agreement.



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C. The INSTAGRAM Trademarks

       48. Instagram owns six registrations of the INSTAGRAM trademark, all of which it

claims it was using in commerce on October 6, 2010 (Registration Nos. 4146057, 4822600,

4827509, 4856047 4863595, and 4863594) and that identify the following goods and services:

            •   Telecommunications services, namely electronic transmission of data, messages,
                graphics, images and information;
            •   Downloadable computer software for modifying the appearance and enabling
                transmission of photographs;
            •   Computer software for the collection, editing, organizing, modifying,
                transmission, storage and sharing of data and information;
            •   Computer services, namely providing an interactive website featuring technology
                that allows users to manage their online photograph and social networking
                accounts;
            •   Providing use of online software for enabling transmission of images and
                audiovisual and video content.

       49. Instagram owns one INSTA formative trademark registration for INSTAMEET (Reg.

No. 4525966), which Defendant claims was in use in commerce by December 13, 2013.

       50. Instagram owns two trademark registrations for the term INSTA (Reg. Nos. 5061916,

4531884) both of which are applied to its camera logo and claiming first use dates of September

20, 2011 and November 2010, respectively.

       51. None of Instagram’s trademarks are registered to identify telephonic services.

       52. There is no likelihood of confusion as to the source, affiliation, or sponsorship of the

Parties’ respective products, services, or businesses. Accordingly, Kirusa’s INSTAVOICE mark

does not infringe any of Defendant’s rights in its INSTAGRAM marks.

       53. Kirusa’s use and registration of its INSTAVOICE mark is not likely to dilute

Defendant’s INSTAGRAM marks.

       54. Defendant’s claims are invalid given the application of the equitable defenses of

laches, acquiescence, and estoppel as complete defenses to those claims.

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                                      COUNT I
                            DECLARATORY JUDGMENT FOR
                       NO FEDERAL TRADEMARK INFRINGEMENT
                                   (15 U.S.C. § 1114)
       55. Kirusa incorporates by reference the allegations in the preceding paragraphs of the

Complaint.

       56. A real and actual dispute, case, and/or controversy exists between the Parties as to a

state of facts, in particular Kirusa’s past and continued use of its INSTAVOICE mark and the

registrability of its INSTAVOICE mark.

       57. Kirusa and Defendant have adverse and antagonistic interests in the subject matter of

the dispute, case, and/or controversy.

       58. Kirusa seeks a declaratory judgment that the INSTA formative is generic and that the

INSTAVOICE and INSTAGRAM trademarks are distinctive by reason solely of their

combination of the INSTA formative with the generic terms, “voice” and “gram,” and that

Defendant has no claim to trademark rights in any marks utilizing the INSTA formative apart

from INSTAGRAM, INSTAMEET, and the camera logo of Reg. Nos. 5061916, 4531884.

       59. Kirusa seeks a declaratory judgment that its past and continued use of the

INSTAVOICE mark is not intended or likely to cause confusion, mistake, or deception as

between the source, association, or affiliation of the Parties’ respective products, services, or

businesses, and therefore does not infringe Defendant’s INSTAGRAM marks under the Lanham

Act, 15 U.S.C. § 1114.

       60. Kirusa further seeks a declaration that its past and continued use of the INSTAVOICE

mark has not and does not jeopardize the goodwill, if any, symbolized by Defendant’s registered

INSTAGRAM trademarks, nor does it cause any injury to Defendant under the Lanham Act.




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       61. In the alternative, Kirusa seeks a declaration that Defendant’s claims of trademark

infringement and trademark dilution are barred by the equitable defenses of laches, estoppel, and

acquiescence.


                                      COUNT II
                              DECLARATORY JUDGMENT FOR
                             NO COMMON LAW INFRINGEMENT
       62. Kirusa incorporates by reference the allegations in the preceding paragraphs of the

Complaint.

       63. A real and actual dispute, case, and/or controversy exists between the Parties as to a

state of facts, in particular Kirusa’s past and continued use of its INSTAVOICE mark in

commerce.

       64. Kirusa and Defendant have adverse and antagonistic interests in the subject matter of

the dispute, case, and/or controversy.

       65. Kirusa seeks a declaratory judgment that its past and continued use of the

INSTAVOICE mark is not intended or likely to cause confusion, mistake, or deception as

between the source, association, or affiliation of the Parties’ respective products, services, or

businesses, and does not infringe Defendant’s INSTAGRAM marks under the common law.

       66. Kirusa further seeks a declaration that its past and continued use of the INSTAVOICE

mark has not and does not jeopardize the goodwill, if any, symbolized by Defendant’s registered

INSTAGRAM trademarks, nor does it cause any injury to Defendant under the common law.

       67. In the alternative, Kirusa seeks a declaration that Defendant’s claims of trademark

infringement are barred by the equitable defenses of laches, estoppel, and acquiescence.




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                                       COUNT III
                             DECLARATORY JUDGMENT FOR
                            NO FALSE DESIGNATION OF ORIGIN
                                   (15 U.S.C. § 1125(a))
       68. Kirusa incorporates by reference the allegations in the preceding paragraphs of the

Complaint.

       69. A real and actual dispute, case, and/or controversy exists between the Parties as to a

state of facts, in particular Kirusa’s past and continued use of its INSTAVOICE mark.

       70. Kirusa and Defendant have adverse and antagonistic interests in the subject matter of

the dispute, case, and/or controversy.

       71. Kirusa seeks a declaratory judgment that its past use and continued use of the

INSTAVOICE mark is not intended or likely to cause confusion, mistake, or deception as

between the source, association, or affiliation of the Parties’ respective products, services, or

businesses, and does not constitute false designation of origin with Defendant’s INSTAGRAM

marks under the Lanham Act, 15 U.S.C. § 1125(a).

       72. Kirusa further seeks a declaration that its past and continued use of the INSTAVOICE

mark has not and does not jeopardize the goodwill, if any, symbolized by Defendant’s registered

INSTAGRAM trademarks, nor does it cause any injury to Defendant under the Lanham Act.

       73. Kirusa further seeks a declaration that Defendant is prevented from enforcing its

trademark rights based on equitable principles of laches, estoppel, and/or acquiescence.




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                                        COUNT IV
                              DECLARATORY JUDGMENT FOR
                                NO UNFAIR COMPETITION
                                    (15 U.S.C. § 1125(a))
       74. Kirusa incorporates by reference the allegations in the preceding paragraphs of the

Complaint.

       75. A real and actual dispute, case, and/or controversy exists between the Parties as to a

state of facts, in particular Kirusa’s past and continued use of its INSTAVOICE mark.

       76. Kirusa and Defendant have adverse and antagonistic interests in the subject matter of

the dispute, case, and/or controversy.

       77. Kirusa seeks a declaratory judgment that its past and continued use of the

INSTAVOICE mark is not intended or likely to cause confusion, mistake, or deception as

between the source, association, or affiliation of the Parties’ respective products, services, or

businesses, and does not unfairly compete with Defendant under the Lanham Act, 15 U.S.C. §

1125(a).

       78. Kirusa further seeks a declaration that its past and continued use of the INSTAVOICE

mark has not and does not jeopardize the goodwill, if any, symbolized by Defendant’s registered

INSTAGRAM trademarks, nor does it cause any injury to Defendant under the Lanham Act.

       79. Kirusa further seeks a declaration that Defendant is prevented from enforcing its

trademark rights based on equitable principles of laches, estoppel and/or acquiescence.


                                          COUNT V
                                 DECLARATORY JUDGMENT
                                    FOR NO DILUTION
                                     (15 U.S.C. § 1125(c))
       80. Kirusa incorporates by reference the allegations in the preceding paragraphs of the

Complaint.



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       81. A real and actual dispute, case, and/or controversy exists between the Parties as to a

state of facts, in particular Kirusa’s past use and continued use of its INSTAVOICE mark and the

registrability of its INSTAVOICE mark.

       82. Kirusa and Defendant have adverse and antagonistic interests in the subject matter of

the dispute, case, and/or controversy.

       83. Kirusa seeks a declaratory judgment that its past use and continued use of the

INSTAVOICE mark is not likely to cause dilution of Defendant’s INSTAGRAM marks under the

Lanham Act, 15 U.S.C. § 1125(c).

       84. Kirusa further seeks a declaration that its past and continued use of the INSTAVOICE

mark has not and does not cause blurring of or tarnish Defendant’s registered INSTAGRAM

trademarks, nor does it cause any injury to Defendant under the Lanham Act.

       85. In the alternative, Kirusa seeks a declaration that Defendant’s claims of trademark

infringement and trademark dilution are barred by the equitable defenses of laches, estoppel, and

acquiescence.


                                    COUNT VI
                          DECLARATORY JUDGEMENT ON
                    UNFAIR COMPETITION UNDER THE DELAWARE
                    UNIFORM DECEPTIVE TRADE PRACTICES ACT
                              (6 Del. C. § 2531 et seq.)
       86. Kirusa incorporates by reference the allegations in the preceding paragraphs of the

Complaint.

       87. A real and actual dispute, case, and/or controversy exists between the Parties as to a

state of facts, in particular Kirusa’s past use and continued use of its INSTAVOICE mark and the

registrability of its INSTAVOICE mark.




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       88. Kirusa and Defendant have adverse and antagonistic interests in the subject matter of

the dispute, case, and/or controversy.

       89. Kirusa seeks a declaratory judgment that under Delaware state law that, as a result of

its past use and continued use of the INSTAVOICE mark, it is not:

             (1) passing off goods or service as those of another;

             (2) causing likelihood of confusion or of misunderstanding as to the source,

                sponsorship, approval, or certification of goods or services;

             (3) causing likelihood of confusion or of misunderstanding as to affiliation,

                connection, or association with, or certification by, another; or

             (4) engaging in any other conduct which similarly creates a likelihood of confusion or

                of misunderstanding.


                                 COUNT VII
                        DECLARATORY JUDGMENT ON
             EQUITABLE GROUNDS – ACQUIESENCE, LACHES, ESTOPPEL
       90. Kirusa incorporates by reference the allegations in the preceding paragraphs of the

Complaint.

       91. In choosing the INSTAVOICE mark and continuing to invest resources in developing

the goodwill associated with the mark, Kirusa relied, among other things, upon the Defendant’s

affirmative public statements in the form of its terms of use that informed Kirusa that it was

permissible to use “insta” in a product name. Defendant thereby expressly consented to, and

actively encouraged, Kirusa’s adoption and use of the INSTAVOICE mark and is therefore

estopped from enforcing its rights against Kirusa. Defendant was aware of Kirusa’s use and

promotion of its INSTAVOICE mark since at least as early as August 2012.




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       92. Until service of Defendant’s cease and desist letter upon Kirusa in April 2015,

Defendant did not object to Kirusa’s use and promotion of its INSTAVOICE mark for nearly

three years. In so doing, Defendant knowingly acquiesced to Kirusa’s adoption and use of its

INSTAVOICE mark.

       93. Kirusa relied on Defendant’s unreasonable period of silence and inaction in continuing

to use and promote its INSTAVOICE mark, spending considerable resources and obtaining valuable

goodwill through use of the INSTAVOICE mark.

       94. Kirusa relied on Defendant’s encouragement of third parties to use the component

“INSTA” in using and promoting its services in connection with the INSTAVOICE mark.

       95. Defendant’s authorization of use of “insta” or “gram” under its own policies and

conduct constitutes an acquiescence of its rights (if any it had) in the weak, descriptive

component parts of its INSTAGRAM marks. Further, Defendant’s delay in pursuing enforcement

of its purported rights in the inherently descriptive component parts of its INSTAGRAM marks

was unreasonable.

       96. Kirusa is unfairly prejudiced by Defendant’s Cancellation Action and would be further

unfairly prejudiced by any further attempt by Defendant to institute any additional action or

proceeding with respect to Kirusa’s use or registration of its INSTAVOICE mark in connection

with its business given Defendant’s unreasonable delay.

       97. Thus, Defendant is estopped from enforcing any rights it has in the component parts of

its INSTAGRAM marks (which rights Kirusa denies) or its INSTAGRAM marks as a whole

based on the doctrines of acquiescence, estoppel, and laches.




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                                     PRAYER FOR RELIEF

WHEREFORE, Kirusa prays for:

      1. A Declaratory Judgment that:

             a.   Finds that the INSTA formative is generic and that Defendant possesses no

trademark rights in the formative apart from its mark as a whole.

             b. Kirusa’s past, present, and continued use and registration of the mark

INSTAVOICE in connection with its business does not and will not infringe or dilute any of

Instagram’s trademark or trade name rights, or unfairly compete with Defendant, or falsely

designate the origin of Kirusa’s services, or otherwise constitute a violation of any of

Defendant’s rights under federal or state law;

             c. Defendant is prevented from enforcing its rights in the INSTAGRAM marks or

the mark’s non-protectable component parts against Kirusa as the result of equitable defenses of

laches, estoppel and/or acquiescence.

             d. Defendant, its officers, agents, servants, employees and attorneys, and those

persons in active concert or participation or otherwise in privity with them, be permanently

enjoined and restrained from instituting, prosecuting, or threatening any action against Kirusa, or

any of its affiliates, or anyone in privity with Kirusa, with respect to Kirusa’s use or registration

of INSTAVOICE in connection with its business;

             e. Prohibits Defendant or its parent company from blocking Kirusa’s access to

Facebook or Instagram and orders both companies to restore INSTAVOICE or Kirusa-related

accounts and pages removed by them;




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             f. Prohibits Defendant or its parent company from denying Kirusa’s access to

Facebook or Instagram for purposes of promoting its INSTAVOICE products consistent with

those platforms’ terms of service;

             g. Prohibits Defendant or its parent from denying Kirusa the right to link its

INSTAVOICE Apps to Facebook or Instagram for purposes consistent with those platforms’

terms of service.

       2. Such other and further relief as the Court may deem just and proper.




                                                  DEVLIN LAW FIRM LLC
 Dated: Sept. 21, 2018
                                                  /s/ James M. Lennon
                                                  James M. Lennon
 Of Counsel:                                      1306 North Broom Street, Suite 1
                                                  Wilmington, DE 19806
 Lawrence A. Husick                               Telephone: (302) 449-7676
 Adam G. Garson                                   Email: jlennon@devlinlawfirm.com
 LIPTON, WIENBERGER & HUSICK
 201 N. Jackson St.
 Media, PA 19063                                  Attorneys for Plaintiff Kirusa, Inc.
 Telephone: (610) 565-7630
 Facsimile: (610) 565-7631
 Email: agarson@lwh-law.com

 and

 Ralph Jacobs, Esquire
 JACOBS KIVITZ & DRAKE LLC
 1525 Locust Street, 12th Floor
 Philadelphia, PA 19102
 Telephone: (215) 732-2655
 Email: rjacobs@jacobs-kivitz-drake.com




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